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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA and        §
STATE OF TEXAS ex rel.              §
JAMES STEVE BURDICK,                §
                                    §
            Plaintiffs,             §
                                    §
v.                                  §                 Civil Action No. 3:19-CV-00207-E
                                    §
BAYLOR UNIVERSITY MEDICAL           §
CENTER, BAYLOR SCOTT & WHITE        §
HEALTH, BAYLOR SCOTT & WHITE        §
HOLDINGS, DIGESTIVE HEALTH          §
ASSOCIATES OF TEXAS, P.A., TEXAS    §
DIGESTIVE DISEASE CONSULTANTS PLLC, §
And HEALTHTEXAS PROVIDER NETWORK, §
                                    §
            Defendants.             §

                                         ORDER

       Before the Court is the motion to withdraw, pursuant to Local Rule 83.12(a), of Adam

Pollock, who moves to withdraw as counsel for Plaintiff-Relator Dr. James Steven Burdick in

the above captioned-matter.    The Court GRANTS the motion.          Pollock Cohen LLP is

WITHDRAWN as counsel for Burdick. Burdick has retained the Law Offices of Darth M.

Newman LLC, 1140 Thom Run Rd #601, Coraopolis, PA 15108, (412) 436-3443, as the

succeeding attorney.

       SO ORDERED; signed July 22, 2020.




                                                 ____________________________________
                                                 ADA BROWN
                                                 UNITED STATES DISTRICT JUDGE
